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CGFI3 (06/27/2022)

                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 23−10086−RAM
                                                                                                                 Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Leslie Howard Roberts                                                         Silvia Helena Roberts
aka Leslie H Roberts, aka Leslie Roberts                                      aka Silvia H Roberts, aka Silvia Roberts, aka Sylvia Castro
495 Brickell Ave #622                                                         Roberts, aka Sylvia Castro
Miami, FL 33131                                                               495 Brickell Ave #622
                                                                              Miami, FL 33131
SSN: xxx−xx−8039
                                                                              SSN: xxx−xx−7771


              NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCY(IES)


NOTICE IS HEREBY GIVEN TO THE DEBTOR(S) that the above referenced case, which was filed on January 5, 2023,
contains one or more filing deficiency(ies) which must be corrected. Failure to correct a deficiency on or before the deadline
posted below the listed deficiency may result in the document(s) being stricken and/or dismissal of this case without
further notice. Deficiencies in items listed below may include failure to file the document, failure to sign the document, or failure
to file the document using the correct and/or current form that substantially conforms to an Official Bankruptcy Form or Local
Form. Links to all required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms, instructions and
guidelines are on the court website www.flsb.uscourts.gov.

DEFICIENCY(IES) in your case: You must correct the following deficiency(ies) by the date indicated below each deficiency.

                     Chapter 13 Plan (Local Form LF−31) was not filed with the petition.
                     Deadline to correct deficiency: 1/19/23

                     Schedules of assets and liabilities. The following schedules were not filed OR were not
                     filed using the correct and/or current Official Bankruptcy Form.
                     Deadline to correct deficiency: 1/19/23

                               Official Bankruptcy Form 106, Summary of Your Assets and Liabilities and Certain
                               Statistical Information
                               Official Bankruptcy Form 106A/B, Schedule A/B: Property
                               Official Bankruptcy Form 106C, Schedule C: The Property You Claim as Exempt
                               Official Bankruptcy Form 106D, Schedule D: Creditors Who Hold Claims Secured
                               by Property
                               Official Bankruptcy Form 106E/F, Schedule E/F: Creditors Who Have Unsecured
                               Claims
                               Official Bankruptcy Form 106G, Schedule G: Executory Contracts and Unexpired
                               Leases
                               Official Bankruptcy Form 106H, Schedule H: Your Codebtors
                               Official Bankruptcy Form 106I, Schedule I: Your Income
                               Official Bankruptcy Form 106J, Schedule J: Your Expenses and (if applicable)
                               Official Bankruptcy Form 106J2, Schedule J−2: Expenses for Separate Household
                               of Debtor 2

                     Declaration About an Individual Debtor's Schedules (Official Bankruptcy Form 106) was
                     not filed or was not signed.
                     Deadline to correct deficiency: 1/19/23


                                        Declaration not filed
                                        Declaration not signed
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                                 Declaration must be filed with deficient schedules listed above

                 Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form
                 107) was not filed or was not signed. See Bankruptcy Rule 1007(b) and (c).
                 Deadline to correct deficiency: 1/19/23


                                 Statement not filed
                                 Statement not signed
                                 Statement incomplete

                 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment
                 Period (Official Bankruptcy Form 122C−1) was not filed. See Bankruptcy Rule 1007(b) and
                 (c).
                 Deadline to correct deficiency: 1/19/23

                 Copies of all payment advices or other evidence of payment received within 60 days
                 before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Debtor.
                 See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(E). Payment advices are
                 deficient as indicated: not filed
                 Deadline to correct deficiency: 1/19/23

                 Copies of all payment advices or other evidence of payment received within 60 days
                 before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Joint
                 Debtor. See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(E). Payment advices
                 are deficient as indicated: not filed
                 Deadline to correct deficiency: 1/19/23

Please also be advised of the following local requirement when correcting any deficiency related to filing of petitions,
schedules, statements or lists:

The Local Form "Debtor's Notice of Compliance with Requirements for Amending Creditor Information" (LF−04) and the Official
Bankruptcy Form "Declaration About an Individual Debtor's Schedules" must accompany the filing of any paper submitted
subsequent to the filing of the initial service matrix. [See Bankruptcy Rules 1007 and 1009, and Local Rules 1007−2(B) and
1009−1(D)]. If the paper you are filing to correct the deficiency requires you to amend your service matrix, please review the
"Clerk's Instructions for Preparing, Submitting and Obtaining Service Matrices" for additional format, fee and other requirements.

Dated: 1/6/23                                                       Clerk of Court
                                                                    By: Sheila Skinner−Grant , Deputy Clerk
The clerk shall serve a copy of this notice on all parties of record.
